Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 1 of 10 PageID 4666




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.         CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANEUVA, et al.

                                   /


                                         ORDER


       This cause is before the Court on:

       Dkt. 805      Motion in Limine to Exclude Evidence of Other Crimes or Bad Acts
                     (Jerry W. Green, Jr.)
       Dkt. 809      Response

 I. Motion in Limine (Jerry W. Green, Jr.)

       Defendant Jerry W. Green, Jr. moves in limine to exclude evidence of other
 crimes or bad acts. Defendant Green states that the Government intends to introduce
 evidence concerning other criminal activity not described in the Second Superseding
 Indictment purportedly committed by Defendant Green:


       1.     Possession of crack cocaine with intent to distribute - 2006;

       2.     Felon-in-possession of a firearm and flight from law enforcement -
              2008;

       3.     Flight from law enforcement, display by Defendant of a firearm
              (felon-in-possession) and a large amount of cash - 2012;

       4.     Flight from law enforcement-2012;

       5.     Possession of marijuana with intent to distribute - 2012;

       6.     Possession of marijuana with intent to distribute - 2012;
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 2 of 10 PageID 4667




 Case No. 8:12-CR-205-T-17MAP


       7.     Felonious possession of ammunition, possession of marijuana,
              flight from law enforcement - 2012;

       8.     Felonious possession of a firearm and discharge of a firearm -
              2013.

 Defendant Green states that only No. 3 and No. 6 above involved Defendant Green’s
 purported coconspirators in this case.


       Defendant Green argues that the Government’s theory of the case is that
 Defendant Green and his coconspirators instilled fear in the community, furthering their
 RICO enterprise, by perpetuating the notion that they were untouchable by law
 enforcement. Defendant Green argues that, of the eight crimes that the Government
 seeks to introduce against Defendant Green, only one alleged offense was committed
 in conjunction with Defendant Green’s codefendants. The other crimes were committed
 by Defendant Green alone, or in combination with another person not indicted as part of
 the RICO conspiracy.


       Defendant Green argues that the other crimes did not arise out of the same set
 of transactions as the charged offenses, the above evidence is not inextricably
 intertwined with the charged offenses, and is not necessary to complete the story of
 those crimes. Defendant Green contends that, other than the fact that Defendant
 Green allegedly committed the other crimes, there is no discernible connection between
 the above crimes, and the crimes charged in the Second Superseding Indictment.
 Defendant Green argues that evidence of other crimes does not establish a chain of
 events that explains the context, motive or set-up of the RICO conspiracy and related
 offenses, and the evidence should be excluded under Fed. R. Ev. 403 and Fed. R. Ev.
 404(b).




                                            2
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 3 of 10 PageID 4668




  Case No. 8:12-CR-205-T-17MAP

  II. Response


        The Government responds that, at trial, the United States expects the evidence
 to show that Defendants successfully kept the criminal Enterprise up and running for an
 extended period of time by using a variety of tactics intended to thwart law enforcement,
 and these tactics were part of their modus operandi (“M.O.”). When confronted by law
 enforcement, Defendants often fled, both in automobiles and on foot. Defendants did
 so to escape capture and to conceal evidence, including firearms and controlled
 substances. Defendants used automobiles belonging to and rented by third parties.
  Defendants used cellular telephones subscribed to under fake user names and by third
  parties. Defendants frequently switched cellular telephone numbers. All of these
 techniques were vital to the success of the Enterprise. Despite being prohibited from
  possessing firearms by virtue of their status as convicted felons, Defendants carried
 firearms in order to commit murders and robberies, and to protect themselves from
 equally vicious rival enterprises, and each other. The Government has provided a
 detailed account of the evidence, and what the Government expects that the evidence
 will show (Dkt. 809, pp. 6-12).


        The Government argues that the convictions and incidents summarized in
  Defendant Green’s Motion are inextricably intertwined with, and direct evidence of, the
 conspiracies charged in Counts 1 and 2, and necessary to complete the story of the
 crimes. The Government contends that the evidence is intrinsic to the racketeering and
 drug trafficking conspiracies, and probative of elements of both conspiracies, including
  Defendant Green’s role in, knowledge of, and intent to participate in the affairs of the
  Enterprise. The offenses occurred in the Middle District of Florida, and occurred within
 the time frames of the conspiracies charged in Counts 1 and 2. The Government
 contends the evidence should be admitted without a Rule 404(b) limiting instruction.




                                               3
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 4 of 10 PageID 4669




  Case No. 8:12-CR-205-T-17MAP

        The Government further argues that the incidents and convictions referenced in
  Defendant Green’s Motion should be admitted, even if the incidents and convictions are
  subject to Fed. R. Ev. 404(b). In determining admissibility of evidence pursuant to Fed.
  R. Ev. 404(b), the Court considers: 1) whether the evidence is relevant to an issue
 other than the defendant’s character; 2) whether there is sufficient proof so that a jury
  could find that the defendant committed the extrinsic act; and 3) whether the evidence
  possesses probative value that is not substantially outweighed by its undue prejudice,
 and meets other requirements of Rule 403. United States v. Jerniqan. 341 F.3d 1273,
  1280 (11th Cir. 2003)Ccitina United States v. Miller. 959 F.2d 1535, 1538 (11th Cir.
  1992)(en banc)).


        The Government argues that Defendant Green, by pleading not guilty, has
  placed his knowledge and intent at issue. The incidents and convictions show
  Defendant Green’s knowledge and intent as to Count 1 and Count 2; therefore, the
 evidence is relevant to an issue other than character. The Government argues that
 there is more than sufficient evidence to find that Defendant Green committed the
 crimes, in that Defendant Green was either convicted and/or the conduct was witnessed
  by law enforcement officers. The Government further argues that, in Defendant
 Green’s case, all of the incidents and offenses described are contemplated within the
  Method and Means (Paragraphs 6-28) of the RICO conspiracy charged in Count 1, and
 the drug distribution conspiracy charged in Count 2. All the incidents and offenses
 occurred with the time periods charged in Counts 1 and 2. United States v. Lamplev.
 68 F.3d 1296, 1300 (11th Cir. 1995)(probative value of evidence of prior marijuana deals
 was not substantially outweighed by danger of unfair prejudice).


  III. Discussion


         Defendant Jerry W. Green, Jr. is charged in the following Counts of the Second
 Superseding Indictment:

                                               4
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 5 of 10 PageID 4670




 Case No. 8:12-CR-205-T-17MAP

       Count 1           18 U.S.C. Sec. 1962(d)
                         RICO Conspiracy;

       Count 2           21 U.S.C. Sec. 846, 841(b)(1)(A),
                         841(b)(1)(B), 841(b)(1)(C)
                         Knowingly and willfully combine,
                         conspire and agree with each
                         other and other persons, both
                         known and unknown to the
                         Grand Jury, to distribute and to
                         possess with the intent to
                         distribute... Schedule I and
                         Schedule II controlled
                         substances;

       Count 3           18 U.S.C. Sec. 924(c), 924(c)(1)(A)(iii),
                         924 (j)(1), and 2
                         Knowingly use, carry and
                         discharge firearm during and in
                         relation to Count 1,... a crime of
                         violence,...and in the course of
                         said violation caused the death of
                         Christopher Jenkins ...through
                         the use of a firearm;


       Count 18          18 U.S.C. Sec. 924(c), 924(c)(1 )(A)(iii),
                         924(j)(1), and 2
                         Knowingly use, carry and discharge a firearm
                         during and in relation to Count 1,
                         and in the course of said violation
                         caused the death of Ceola
                         Lazier,...through the use of a
                         firearm;

       Count 19          18 U.S.C. Sec. 924(c), 924(c)(1)(A)(iii),
                         9240(1), and 2
                         Knowingly use, carry and discharge a firearm during
                         and in relation to Count I..., a crime of violence,...and
                         in the course of said violation Carlos Jurado, a/k/a
                         “Giggles,”... through the use of a firearm.



                                          5
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 6 of 10 PageID 4671




  Case No. 8:12-CR-205-T-17MAP

 A. General Principles


  1. Count 1
        “It is well settled in this circuit that the government can prove an agreement to
  participate in a RICO conspiracy in either of two ways: (1) showing an agreement on the
 overall objective; or (2) showing that a defendant agreed personally to commit two
  predicate acts thereby agreeing to participate in a “single objective.” United States v.
 Church. 955 F.2d 688, 694 (11th Cir.). cert, denied. 506 U.S. 881, 113S.Ct. 233, 121
 L.Ed.2d 169 (1992); United States v. Starrett. 55 F.3d 1525, 1544 (11th Cir. 1995). “The
 government can prove an agreement on an overall objective ‘by circumstantial evidence
 showing that each defendant must necessarily have known that the others were also
 conspiring to participate in the same enterprise through a pattern of racketeering.’ ”
 Starrett. 55 F.3d at 1544 (quoting United States v. Gonzalez. 921 F.2d 1530, 1540
 (11th Cir.), cert denied, 502 U.S. 860, 112S.Ct. 178, 116L.Ed.2d 140(1991)). See
  United States v. Massev. 89 F.3d 1433, 1440 (11th Cir. 1996).


 2. Count 2


         In order to prove a conspiracy under 21 U.S.C.A. § 846 "the government must
 prove, by direct or circumstantial evidence, that there was an agreement among the
 defendants to achieve an illegal purpose." United States v. Watson. 669 F.2d 1374,
  1379 (11th Cir. 1982). The government is not required to prove that each
 co-conspirator participated at every stage of the conspiracy. ]cL Furthermore, the
 government is not required to prove any overt act in furtherance of the conspiracy.
  United States v. Davis. 666 F.2d 195, 201 n. 9 (5th Cir. 1982). Proof of knowledge is
 satisfied by proof that the defendant knew the essential object of the conspiracy. IcL at
 201. Every member of a conspiracy need not be an active participant in every phase of
 the conspiracy, so long as he is a party to the general conspiratorial agreement. United
 States v. Nickerson. 669 F.2d 1016, 1022 (11th Cir. 1982). And finally, whether the

                                              6
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 7 of 10 PageID 4672




 Case No. 8:12-CR-205-T-17MAP

 object of the conspiracy is achieved is immaterial to the commission of the crime of
 conspiracy. United States v. Tombrello. 666 F.2d 485, 489 (11th Cir. 1982). See
  United States v. Cuni. 689 F.2d 1353 (11th Cir. 1982).


 3. Counts 3, 18, 19




        18 U.S.C. Sec. 924(c)(1)(A)(iii) provides:


        c) (1) (A) Except to the extent that a greater minimum sentence is
        otherwise provided by this subsection or by any other provision of law, any
        person who, during and in relation to any crime of violence or drug
        trafficking crime (including a crime of violence or drug trafficking crime that
        provides for an enhanced punishment if committed by the use of a deadly
        or dangerous weapon or device) for which the person may be prosecuted
        in a court of the United States, uses or carries a firearm, or who, in
        furtherance of any such crime, possesses a firearm, shall, in addition to
        the punishment provided for such crime of violence or drug trafficking
        crime-



        (iii) if the firearm is discharged, be sentenced to a term of imprisonment of
        not less than 10 years.


        18 U.S.C. Sec. 9240(1) provides:

        G) A person who, in the course of a violation of subsection (c), causes the
        death of a person through the use of a firearm, shall—

        (1) if the killing is a murder (as defined in section 1111 [18 USCS §
        1111]), be punished by death or by imprisonment for any term of years or
        for life...

        The Court notes that a substantive violation of 18 U.S.C. Sec. 924(c) may be
 subject to the Pinkerton doctrine; an absent conspirator may be liable for a violation


                                               7
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 8 of 10 PageID 4673




 Case No. 8:12-CR-205-T-17MAP

 when it is a reasonably foreseeable action of the conspiracy. See United States v.
 Diaz. 248 F.3d 1065 (11th Cir. 2001).


 B. Fed. R. Ev. 403 and 404(b)


  1.      Fed. R. Ev. 403

          Fed. R. Ev. 403 provides:

          The court may exclude relevant evidence if its probative value is
          substantially outweighed by a danger of one or more of the following:
          unfair prejudice, confusing the issues, misleading the jury, undue delay,
          wasting time, or needlessly presenting cumulative evidence.


          “Unfair prejudice” involves some adverse effect beyond tending to prove the fact
 or issue that justifies the admission of the evidence. Prejudice is unfair when it tends to
 suggest a decision by the fact finder on an improper basis, such as on an emotional
 basis.


          The Court notes that Rule 403 is an “extraordinary remedy” whose “major
 function...is limited to excluding matter of scant or cumulative probative force, dragged
 in by the heels for the sake of its prejudicial effect.” (citation omitted). The Rule carries
 a “strong presumption in favor of admissibility.” See United States v. Grant. 256 F.2d
  1146, 1155 (11th Cir. 2001).


 2.       Fed. R. Ev. 404(b)


          Fed. R. Ev. 404(b) provides:

          (t>) Crimes, Wrongs, or Other Acts.

          (1) Prohibited Uses. Evidence of a crime, wrong, or other act is not admissible to
          prove a person's character in order to show that on a particular occasion the
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 9 of 10 PageID 4674




  Case No. 8:12-CR-205-T-17MAP

         person acted in accordance with the character.

        (2) Permitted Uses; Notice in a Criminal Case. This evidence may be admissible
        for another purpose, such as proving motive, opportunity, intent, preparation,
        plan, knowledge, identity, absence of mistake, or lack of accident. On request
        by a defendant in a criminal case, the prosecutor must:

        (A) provide reasonable notice of the general nature of any such evidence that
        the prosecutor intends to offer at trial; and

         (B) do so before trial--or during trial if the court, for good cause, excuses lack of
         pretrial notice.



         Evidence of criminal acts other than the offenses charged is not extrinsic under
 404(b), and therefore falls outside the scope of 404(b), when it is “(1) an uncharged
 offense that arose out of the same transaction or series of transactions as the charged
 offense, (2) necessary to complete the story of the crime, or (3) inextricably intertwined
 with the evidence regarding the charged offenses.” United States v. Baker, 432 F.3d
  1189, 1205 n. 9 (11th Cir. 2005). Evidence is inextricably intertwined when it is
 “pertaining to the chain of events explaining the context, motive and set-up of the
 crime,” and such evidence “is properly admitted if linked in time and circumstances with
 the charged crime, or forms an integral and natural part of an account of the crime, or is
  necessary to complete the story of the crime for the jury.” United States v. Williford.
 764 F.2d 1493, 1499 (11th Cir. 1985).


        The Government argued that above convictions and incidents summarized are
  part of the conspiracies charged in Counts 1 and 2. After consideration, the Court
 denies the Motion in Limine on this basis.


        The Court notes that the Government further argues that even if the above
 convictions and incidents are subject to Fed. R. Ev. 404(b), they should be admitted,
 since Defendant Green’s knowledge and intent are. at issue. Where there is a danger

                                                9
Case 8:12-cr-00205-SDM-SPF Document 927 Filed 06/27/16 Page 10 of 10 PageID 4675




  Case No. 8:12-CR-205-T-17MAP

  of unfair prejudice, Defendant Green may request a limiting instruction or relief.
  Accordingly, it is




          ORDERED that the Motion in Limine (Dkt. 805) is denied.



                                                                          <7 n&L
          DONE and ORDERED in Chambers in Tampa, Florida on this^>~ / day of June,
  2016.




  Copies to:
  All parties and counsel of record




                                              10
